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                                  AC-0003
                              
                        
          
        
      
    
  

  

  
    
      AC-0003
              Angela Colmenero
                  
        Categories
                        
Counties and County Commissioners Courts
              , 
Roads and Bridges
              , 
Natural Resources
              , 
Energy
        
      
            
                  Summary
                      To the extent a moratorium proposed by a county in relation to a commercial utility-scale solar-energy facility is adopted pursuant to Transportation Code provisions related to county authority over roads but is meant to reach activity other than that related to county roads, a court would likely find it invalid and unenforceable. And to the extent the moratorium is adopted pursuant to Health and Safety Code section 121.003 but does not seek to enforce a specific, preexisting public health law, a court would likely find it invalid and unenforceable.
      
                          
            Opinion File
                         ac-0003.pdf 

      
          
                
        
      
    

          
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    RQ-0500-KP

      
  
                February 21, 2023

      
  
      
      
        Request PDF
                     RQ0500KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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